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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

                                                )
UNITED STATES OF AMERICA                        )
                                                )
               v.                               )                        3084
                                                    Case No. 21-MJ-___________________-KAR
                                                )
DUSHKO VULCHEV,                                 )
                                                )
                      Defendant                 )


GOVERNMENT’S MOTION FOR DETENTION HEARING FOR DUSHKO VULCHEV

        The United States moves for pretrial detention of the defendant Dushko Vulchev, pursuant

to 18 U.S.C. Section 3142(e) and (f).

    1. Eligibility of Case. This case is eligible for a detention order because it involves (check

all that apply):


    __X__ Crime of violence under 18 U.S.C. Section 3156 (18 U.S.C. § 3142(f)(1)(A))


    _____ Maximum sentence life imprisonment or death (18 U.S.C. § 3142(f)(1)(B))


    _____ 10 plus years drug offense (18 U.S.C. § 3142(f)(1)(C))


    _____ Felony, with two prior convictions in above categories (18 U.S.C. § 3142(f)(1)(D))


    _____ Felony involving minor victim, possession or use of a firearm, or failure to register as a

            sex offender (18 U.S.C. § 3142(f)(1)(E))


    __X__ Serious risk defendant will flee (18 U.S.C. § 3142(e)(1))


    _____ Serious risk of obstruction of justice (18 U.S.C. § 3142(e)(1))
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   2. Reason for Detention. The court should detain defendant because there are no conditions

of release which will reasonably assure (check one or both):


   __X__ Defendant’s appearance as required


   __X__ Safety of any other person and the community


   3. Time for Detention Hearing. The United States requests the Court conduct the detention

hearing:


   _____ At first appearance


   __X__ After continuance of 3 days (not more than 3)


   4. Witnesses. The United States intends to rely on the Affidavit of Federal Bureau of

Investigation (“FBI”) Special Agent Casey Anderson in Support of Criminal Complaint and/or

call as a witness a Special Agent from FBI or the Bureau of Alcohol, Tobacco, Firearms, and

Explosives.


                                            Respectfully submitted,

                                            NATHANIEL R. MENDELL
                                            ACTING UNITED STATES ATTORNEY

                                     By:    /s/ Deepika Bains Shukla
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                           PRINCIPAL DEPUTY ASSISTANT ATTORNEY
                           GENERAL
                           CIVIL RIGHTS DIVISION

                     By:   /s/ Kyle Boynton
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                           Dated: April 15, 2021




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